         Case 1:21-cr-00537-JMC Document 88 Filed 01/19/22 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
              v.                               :
                                               :       Case No.: 21-CR-537-JMC
JOSEPH MELVIN                                  :
                                               :
              Defendant.                       :

                         GOVERNMENT’S NOTICE OF WITHDRAWAL

        The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that Assistant United States Attorneys, April Nicole

Russo and Danielle Sara Rosborough, as counsel for the United States, are terminating their

appearance as counsel of record in this matter. All other government counsel noted on the docket at

the time of this filing will remain counsel for the United States.



                                                       Respectfully Submitted,

                                                       MATTHEW GRAVES
                                                       UNITED STATES ATTORNEY D.C.
                                                       D.C. Bar No. 481052


                                               BY:     /s// April N. Russo
                                                       APRIL N. RUSSO
                                                       P.A. Bar. No. 313475
                                                       Assistant United States Attorney
                                                       555 4th Street, N.W., Rm 4110
                                                       Washington, D.C. 20530
                                                       202-803-1643
                                                       april.russo@usdoj.gov
